Case 6:21-cv-06323-CJS Document 21 Filed 03/24/22 Page 1of2._.

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United States District Court for the Western District of New York \4s ~ WancuTes<e S77
File Number: 21-cv-6323 (CJS) STERN DiSTRICL
United States of America
Plaintiff.
V. Notice of Appeal

$8,040 United States Currency
Defendant.

Notice is hereby given that Cristal Starling, Claimant to Defendant $8,040 United States Currency in
the above-named case, hereby appeals to the United States Court of Appeals for the Second Circuit

from the court’s decision and order entered in this action on February 3, 2022, and from the final

Cristal Starling

Address: 466 2 West Main Street, Apt 401
Rochester, NY 14608

585-709-2236

dodat1881@gmail.com

judgment entered in this action on February 8, 2022.
Case 6:21-cv-06323-CJS Document 21 Filed 03/24/22 Page 2 of 2

 

 

Revised 05/01 WDNY CERTIFCATE OF SERVICE

UNITED STATES DISTRICT COURT AY

WESTERN DISTRICT OF NEW YORK (~{ MAR 2 4 2022
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Plaintiff(s), CERTIFICATE OF SERVICE
Vv | -CV- b OAS

 

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Defendant(s).

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(state the name of your papers) A/eTICE OF ALEAC

 

 

n all other parties in this case

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I declare under penalty of perjury that the foregoing is true and correct, to the best of my

knowledge, information and belief. |;

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